             Case 4:21-cv-01205-LPR Document 12 Filed 05/31/22 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION


WALTER KIMBLE                                                                           PLAINTIFF
ADC #601717

v.                                  No: 4:21-cv-01205-LPR-PSH


SHANE WEST, et al.                                                                      DEFENDANTS


                                                    ORDER

        The Court has reviewed the Proposed Findings and Recommendation (PFR) submitted by

United States Magistrate Judge Patricia S. Harris (Doc. 4), and the objections filed by Mr. Kimble

(Doc. 11). After a careful and de novo review of the PFR and record, the Court concludes that the

PFR should be, and hereby is, approved and adopted in its entirety as this Court’s findings.1

        IT IS THEREFORE ORDERED THAT:

        1.       Mr. Kimble’s claims are dismissed without prejudice for failure to state a claim

upon which relief may be granted.

        2.       The Court recommends that dismissal of this action count as a “strike” within the

meaning of 28 U.S.C. § 1915(g).

        3.       The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis

appeal from the order adopting this recommendation or the accompanying judgment would not be

taken in good faith.




1
 I’m not sure I would have stated all the points of law in the exact same way Judge Harris stated them. But I agree
completely with her analysis of the lack of viability of the claims made in light of controlling precedent.
  Case 4:21-cv-01205-LPR Document 12 Filed 05/31/22 Page 2 of 2




IT IS SO ORDERED this 31st day of May 2022.



                                       ________________________________
                                       LEE P. RUDOFSKY
                                       UNITED STATES DISTRICT JUDGE
